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THE UN|TED STATES D|STR|CT COURT
FOR THE M|DDLE D|STR|CT OF PENNSYLVAN|A

 

CONSUMER FlNANC|AL
PROTECTION BUREAU,

Plaintiff,

. 3:17-CV-101
v. : (JUDGE MARlAN|)

NAV|ENT CORPORAT|ON, et al., l

Defendants.

MEMORANDUM OPlN|ON
|. |NTRoDuchoN

Through this lawsuit, the Consumer Financial Protection Bureau (“Plaintifl”) seeks to
prove that Navient Corporation, Navient Solutions, lnc., and Pioneer Credit Recovery, |nc.,
(collectively “Defendants”), committed various violations of the Consumer Financial
Protection Act, 12 U.S.C. §§ 5531, 5536, the Fair Debt Collection Practices Act, 15 U.S.C. §
1692e, and Regulation V of the Fair Credit Reporting Act, 12 C.F.R. §1022.42. (Doc. 1).
Present|y before the Court are several disputes that have arisen during the course of
discovery.

The first set of disputes came to the Court’s attention on January 5, 2018. Per the
procedure of the Court, Defendants, instead of filing a motion, filed a brief letter with the
Court identifying the dispute and requesting a telephone conference. (Doc. 68). The Court

set a date for a telephone conference and directed that, before the conference would take

 

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place, “Plaintiff shall submit a concise letter to the Court briefly outlining its position with
respect to Defendants’ |etter.” (Doc. 69). After Plaintiff responded with a somewhat lengthy
letter, (Doc. 70), the Court held a telephone conference on January 18, 2018. (Doc. 76).
After hearing from each side, the Court made clear that, while it understood each side’s
legal arguments, it was having difficulty identifying what was specifically being sought by
Defendants and, therefore, the Court did not have enough information to issue a ruling on
the matter. (Id. at 34-35). Accordingly, the Court ordered the parties to tile a joint
statement identifying what was in dispute-that is, “what documents, what kinds of
documents, and in connection with what claims." (ld. at 35-36). The parties, however,
disregarded the Court’s Order and filed two separate statements on February 8, 2018.
(Docs. 72, 73).

On February 27, 2018, while those disputes remained pending, Plaintiff filed a
lengthy letter with the Court requesting a telephone conference to address several new
disputes that had arisen between the parties. (Doc. 74). The Court scheduled a telephone
conference and directed Defendants to file a concise letter before that time which briefly
outlined their position with respect to Plaintist letter. (Doc. 78). Before responding to
Plaintiffs letter, however, Defendants filed a lengthy letter of their own which identified
different disputes that they wished to have discussed during the scheduled telephone
conference. (Doc. 79). Given the breadth of the disputes raised, the Court cancelled the

telephone conference and ordered the parties to appear in person to discuss all pending

 

 

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discovery disputes. (Doc. 80). Additionally, the Court ordered each side to respond to the
other side’s letter, (Id.). On April 9, 2018, Defendants and Plaintiff filed their respective
lengthy responses. (Docs. 83, 84).

The parties appeared before the Court on April 17, 2018. While some of the
disputes had resolved themselves by that time, the majority of the disputes remained
pending. Each side was afforded ample time to present their arguments as to why certain
discovery should or should not be allowed. For the reasons that follow, the Court will
sustain in part and overrule in part Plaintiff’s objections to Defendants’ requests for
production of documents, and sustain in part and overrule in part Defendants’ objection to
Plaintiffs requests for production of documents.1 Further, in light of the extensive number
and scope of discovery requests propounded to date and for the reasons discussed during
the April 17 conference, the Court will order that the parties serve no additional
interrogatories or requests for production of documents beyond those which have already
been served.

l|. ANALYsls

The Court will address each dispute individually To begin with, however, the Court
will briefly explain two general principles that have guided the Court’s rulings. First, the
parties’ arguments have tended to conf|ate relevancy in the context of discovery with

admissibility at trial. Nevertheless, as both parties are aware, Federal Rule of Civil

 

1 Additionally, during the in-court conference, the Court granted Defendants’ request to increase
the per side deposition limit from twenty depositions to thirty depositions

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Procedure 26 provides, in part, that “[i]nformation within this scope of discovery need not be
admissible in evidence to be discoverable.” FED. R. Clv. P. 26(b)(1). Further, “[i]t is well
recognized that the federal rules allow broad and liberal discovery.” Pacitti v. Macy’s, 193
F.3d 766, 777 (3d Cir. 1999); see also ln re MSTG, Inc., 675 F.3d 1337, 1346 (Fed. Cir.
2012) (“ln general, the Federal Ru|es of Civil Procedure promote a ‘broad and |iberal’ policy
of discovery ‘for the parties to obtain the fullest possible knowledge of the issues and facts
before trial.”’ (quoting Hickman v. Taylor, 329 U.S. 495, 501, 507, 67 S. Ct. 385, 91 L. Ed.
451 (1947))). Accordingly, the Court will not sustain a relevancy objection unless it can
determine at this early stage that the materials sought cannot, as a matter of law, have any
possible relevance to the present matter.

Second, both parties have raised proportionality arguments. Federal Rule of Civil
Procedure 26 provides, in part, that

Unless otherwise limited by court order, the scope of discovery is as follows:

Parties may obtain discovery regarding any nonprivi|eged matter that is

relevant to any party’s claim or defense and proportional to the needs of the

case, considering the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues,

and whether the burden or expense of the proposed discovery outweighs its

likely benefit
FED. R. Clv. P. 26(b)(1). The matter before the Court is a massive piece of litigation which
raises multiple important issues that have the potential of impacting thousands, if not

hundreds of thousands, of student loan borrowers. The amount in controversy is potentially

into the hundreds of millions of dollars, (April 17, 2018, Hr’g Tr. at 40), and every party
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involved is a sophisticated corporate or government entity with significant resources at its
disposal. Accordingly, given that these factors weigh in favor of extensive discovery being
proportional to the needs of the case, the Court is not inclined to sustain a proportionality
objection without a showing that the sought after material is unimportant to the issues in this
case and the burden or expense of producing such material is excessive in comparison to
the size of this litigation.

With those guiding principles in mind, the Court will now turn to the specific discovery
disputes raised by the parties.

A. Documents Related to Policies and Guidance Considered
by Plaintiff and the Department of Education

Defendants first argue that, based on several requests for production of documents
that they served on Plaintiff, Defendants are entitled to documents related to proposed or
hnal policies and guidance considered by Plaintiff and the Department of Education.2 (Doc.
68 at 1). According to Defendants, this includes “information received from third parties,
such as borrower surveys and complaints, and internal and external communications with
stakeholders such as the Department of Education, State Attorneys Generall borrowers,
members of Congress, and consumer advocacy organizations.” (Doc. 72 at 3). Defendants
have identified a list of “fourteen publicly issued rules, regulations, or guidance that

Defendants believe are clearly relevant to the administration of the government contracts

 

2 Defendants specihed that they are not seeking to have Plaintiff produce the documents that have
been officially published because those documents are in the public domain. (Doc. 76 at 8-9).

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and federal regulations governing federal student loan servicing and collection practices at
issue in the Complaint.” (ld.).

Plaintiff argues that unpublished, predecisional views of, and internal discussions
among, Plaintifl"s staff are not binding on Plaintiff and are therefore not relevant to present
action. (Doc. 73-1 at 4). Stated otherwise, Plaintiffs position is that, because unpublished
views of an agency employee or group of agency employees are not official agency
positions, they carry no legal significance and are thus have no relevance. (Doc. 70 at 1-2).
Further, Plaintiff’s contend that Defendants have failed to show that these documents are
relevant because they have not shown that Defendants were aware of them and thus could
have based their behavior on them. (Doc. 73-1 at 4; April 17l 2018, Hr’g Tr. at 62).

Defendants reply that these documents are relevant because communications,
internal and external, regarding policies or guidance that touch upon issues in this case are
relevant to whether Defendants acted reasonably. (Doc. 76 at 9-10, 22; April 17, 2018, Hr’g
Tr. at 59-60). For example, these documents could show that Plaintiff had internal policy
debates about what conduct was reasonable and unreasonable and “the fact that there
[were] legitimate policy debates about the range of reasonableness demonstrates that the
conduct here was not so unreasonable as to justify massive Hnes.” (Doc. 76 at 24-25).
Further, Defendants argue that these documents are relevant because Defendants are
vendors of the Federal Government through contracts with the Department of Education,

and therefore many of the actions they took were at the direction of, or with the approval of,

 

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the Department of Education. (Id. at 6-8; April 17, 2018, Hr’g Tr. at 59-60). Thus, if there
was a policy debate relevant to the issues in this case between Plaintiff and the Department
of Education, Defendants contend that they are entitled to know if Plaintiff lost that policy
debate and is bringing the present action in an effort to vindicate its position. (Doc. 76 at
22-23).

The position Plaintiff takes is not without support. |n United States v. Far/ey, the
United States sued Farley because he failed to notify the Department of Justice and the
FTC when the purchases he made of a particular stock triggered a reporting requirement
under Section 7A of the Hart-Scott-Rodino Antitrust improvements Act (“HSR Act”), 15
U.S.C. § 18a(a)(3)(B). 11 F.3d 1385, 1387 (7th Cir. 1993). During the course of litigation,
the United States refused to turn over certain requested documents on the basis of the work
product and deliberative process privilege. ld. at 1388. The dispute was ultimately whittled
down to nine documents ld at 1388-89. The contested “documents included memoranda
of FTC staff members and discussions of the Farley matter, as well as documents
containing the FTC stast views on the investment-only exemption and recommendations
for future action.” Id.

On appeal of the District Court’s order to produce those documents, the Seventh
Circuit first found that the nine documents fell within the deliberative process privilege and
therefore “the government could only be required to produce them if Farley made a showing

that his need for the documents outweighed the governments interest in not disclosing

 

 

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them.” ld. at 1389. Turning to the issue of need, the Court held that “[s]ince the documents
at issue are not relevant to the controversy before us, Farley cannot, as a matter of law,
make a showing of need.” ld. at 1390. According to the Court:

The FTC documents are definitely not relevant to Farley’s claim that his

purchases fell within the investment-only exemption to the HSR Act’s

reporting requirements This defense requires only that the district court
interpret the statutory exemption and determine whether Farley’s purchases
were within the scope of that exemption. The suppositions of FTC staff
members expressed in internal memoranda as to requirements of the Act are

not pertinent to this task. ln its attempt to decipher the meaning of a statute a

court may rely on various tools, including ochial agency interpretations

Courts may not, however, rely on unpublished opinions of agency staff. The

documents at issue here clearly fall in the latter category and as such are not

germane to the court’s inquiry.
ld. (internal citations omitted).

The Second Circuit reached a similar conclusion in lnternational Paper Company v.
Federal Power Commi'ssion, 438 F.2d 1349 (2d Cir. 1971). There, the Federal Power
Commission was investigating |nternational Paper Company in connection with
lnternational’s natural gas pipeline. ld. at 1352. Eventually, the Commission ordered
“lnternational to show cause why its transportation of natural gas should not be subject to
the Commission’s jurisdiction . . . and why international should not be required to apply for
and obtain a certificate of public convenience and necessity . . . to operate a transmission
line across a state line.” ld. |nternational then requested from the Commission “all staff

memoranda in three earlier [jurisdiction] disclaimer cases, which it claimed related to similar

rulings affecting other companies” ld. The Commission refused, and |nternational

 

 

 

 

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eventually sought a Court order compelling disclosure under the Freedom of information
Act, ld. at 1351-52.

Applying the same standard applicable to discovery in civil cases, the District Court
denied lnternational’s request, finding “that the material sought by [lnternational] were not
‘orders’ of the Commission nor were they ‘necessary parts’ thereof." ld. at 1358. On appeal
of the District Court’s order, international argued that the requested material would show
that “the Commission’s action favored the legal position taken by lnternational” in the
enforcement action, ld. The Second Circuit, however, upheld the District Court’s decision,
inding that “the views of individual members of the Commission’s staff are not legally
germane, either individually or collectively to the actual making of final orders.” ld.
According to the Court, these views

could be grossly misleading, when applied to the ultimate findings and

conclusions reached by the [Federal Power Commission] as a whole,

because at best they are only advisory in character. To allow disclosure of
these documents would interfere with two important policy considerations on
which [the applicable provision of the Freedom of information Act] is based:
encouraging full and candid intra-agency discussion, and shielding from
disclosure the mental processes of executive and administrative officers
ld. at 1358-59 (footnote omitted). Further, as the Court made clear, “the staff memoranda
sought can in no way be construed, as being a part of the Commission’s final orders They

were merely preliminary interagency memoranda, compiled preparatory to the formulation of

the Commission’s final decisions.” ld. at 1359.

 

 

 

 

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Applying Farley and international Paper to the facts of this case compels the
conclusion that, subject to the exception discussed below, the discovery that Defendants
seek is not relevant to any of their defenses.3 Defendants assert that this material is
relevant because it bears on the reasonableness of Defendants’ actions. Even if there were
policy debates in which agency staff took positions favorable to Defendants, however, these
statements would have no legal signiicance because they would not be official agency
positions in the end, the fact finder will be called upon to determine if Defendants engaged
in any “unfair, deceptive, or abusive act[s] or practice[s]” in violation of the Consumer
Financial Protection Act. 12 U.S.C. § 5536(a)(1)(B). What agency staff said in
communication leading up to the issuance or non-issuance of rules, policiesl or guidance
has no bearing on that determination if it were othenivise, these predecisional
communications would possess de-facto ofhcial status See Kan. State Network, Inc. v.
FCC, 720 F.2d 185, 191 (D.C. Cir. 1983) (“Just as disclosure of predecisional documents
would injure the consultative process within the government, so too would judicial review of
the agency’s deliberations in this case. in general, an agency’s action should be reviewed
based upon what it accomplishes and the agency’s stated justifications.” (internal quotation
marks and citation omitted)). Accordingly, because these types of communications have no

legal signiicance, they are simply not relevant to Defendants’ defenses

 

3 Defendants argue that United States v. Exxon Corporation, 87 F.R.D. 624 (D.D.C. 1980), held
that agency staff opinions are relevant to a determination of the legitimacy of industry conduct. That case,
however, was explicitly limited to situations where a government agency “enforces, retrospectiveiy,
regulations that proscribe industry conduct unaddressed by prior regulations.” ld. at 633. Here, Plaintiff is
not seeking to retroactively enforce any regulations

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Defendants, however, argue that this case fails outside of Farley and international
Paper because of Defendants’ unique status as a government contractor. That is,
Defendants contend that because they were acting on behalf of, or at the direction of, the
government, they are entitled to know what the government had to say about their actions
The Court agrees to an extent, that this case presents somewhat unique circumstances
Accordingly, the Court will overrule Plaintiff’s objection to the extent that Defendant is
seeking communication between Plaintiff and the Department of Education. Given
Defendants’ relationship with the Department of Education, this type of communication may
be relevant to their defenses Further, the Court will order Plaintiff to create, maintain, and
produce a privilege log with respect to documents falling within any of Defendants’ requests

To recap, Plaintiff shall produce all non-privileged communication it had with the
Department of Education that falls within the subject matter of Defendants’ requests but
Plaintiff need not turn over any other predecisional communications related to the fourteen
publicly issued rules regulations and guidance that Defendants identified or any other
predecisional communications related to proposed rules regulations and guidance that
were not ultimately issued. Plaintiff shall, however, keep a privilege log concerning all these
predecisional communications which identifies the documents Plaintiff believes falls under

the attorney-client, work product, deliberative process or other recognized privilege.

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B. Documents Related to the Policies and Practices of Other Servicers
and Co//ection Agencies that Service Federal Student Loans

Defendants next seek documents related to the policies and practices of other
entities that service federal student loans (Doc. 68 at 1). “Such documents include
information [Plaintifi] obtained from third-party servicers and collection agencies . . . ,
supervisory reviews and other interactions as well as examination reports and associated
materials prepared by [Plaintifi] and any internal and external communications about the
relevant practices and policies of third-party servicers and collection agencies” (Doc. 72 at
6). Defendants seek these type of documents as they related to “eight specific practices” of

third party services.4 (ld. at 6-7).

 

4 These eight specific practices include:

o Communications with borrowers about repayment plans and policies procedures call
scripts and training materials related to such communications

o Rates of enrollment in forbearance and income-driven repayment plans and rates of
income-driven repayment plan recertihcation;

o Call center operations including compensation plans and metrics for call center
employees and average call times;

o Notices and disclosures regarding repayment options and income-driven repayment
plan recertification;

o Policies and procedures for the categorization and escalation of borrower complaints
and inquiries related to payment processing;

o Disciosures to borrowers regarding payment allocation and application;

o Policies procedures and call scripts relating to communications with borrowers
regarding the impact of federal loan rehabilitation on credit reporting and collection
fees;

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Plaintiff argues that this information is not relevant because the conduct of other
entities has no bearing on whether Defendants violated the iaw. (Doc. 70 at 3). According
to Plaintiff, “courts have repeatedly rejected the ‘everyone else is doing it’ or ‘why me’
defense-the notion that, because competitors allegedly were engaging in the same
conduct as the defendant, the government cannot take action against the defendant.” (ld.).
Thus, according to Plaintiff, because Defendants’ request concerns a defense that is
unavailable to them, such information is not relevant to the present action.

Plaintiff cites a number of Federal Trade Commission (“FTC”) enforcement cases to
support its position. See, e.g., Moog Indus., lnc. v. FTC, 355 U.S. 411, 413, 78 S. Ct. 377,
2 L. Ed. 2d 370 (1958) (holding that an FTC cease and desist order against a single firm
was valid despite the fact that the FTC had not yet pursued similar enforcement actions
against other firms allegedly engaging in the same behavior). Of particular relevance to the
present action is FTC v. Chemence, /nc., 209 F. Supp. 3d 981 (N.D. Ohio 2016). There, the
FTC was pursuing a Section 5 action5 against Chemence, a company that advertised, sold,
and distributed cyanoacrylate glue products based on that company’s use of the phrase

“Made in the USA” on its glue labels ld. at 983, 985. ln discovery, Chemence asked the

 

- Rates of defaulted borrowers who rehabilitated their loans consolidated their loans or
remained in default.

(Doc. 72 at 6-7).

5 Similar to a provision in the Consumer Financial Protection Act that makes it “un|awful for . . . any
covered person or service provider . . . to engage in any unfair, deceptive, or abusive act or practice,” 12
U.S.C. § 5536(a)(1)(B), Section 5 of the Federal Trade Commission Act makes “unfair or deceptive acts or
practices in or affecting commerce” unlawful, 15 U.S.C. § 45(a)(1).

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FTC to produce documents related to Chemence’s competitors such as “[a]ny documents
including, referring, or evidencing communications between the FTC and Gorilla Glue
Company, and its affiliated entities officers directors employees agents representatives
and attorneys regarding supergiues and cyanoacrylates.” ld. at 983. Gorilla Glue and
other non-parties intervened and sought a protective order. ld. at 982-83. Chemence
opposed the protective order, arguing that such information was relevant “because it [would]
show that the FTC has applied inconsistent standards in pursuing ‘Made in the USA’ claims
against different companies” and because it would show that “the FTC [had] never
promulgated rules or issued clear standards about the use of ‘Made in the USA’ claims on
products.” ld. at 985.

The District Court rejected these arguments finding that “[t]he FTC’s lawsuit
concerns Chemence’s actions not its competitor’s actions” ld. (emphasis in original).
According to the Court, “[e]very element in a Section 5 claim relates to the conduct of the
defendant in the lawsuit, not the conduct of other industry participants Thus, the conduct of
other participants in the cyanoacrylate glue industry-the information that Chemence now
seeks--has no bearing on the FTC’s claim.” ld. (emphasis in original). Relying on the
proposition in Moog industries that “[t]he FTC ‘alone is empowered to develop [an]
enforcement policy best calculated to achieve the ends contemplated by Congress and to
allocate its available funds and personnel in such a way as to execute its policy efnciently

and economically,”’ the Court then concluded that “[e]ven if Chemence could demonstrate

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that its competitors had violated the FTC Act but were not prosecuted, that would be
irrelevant to the current lawsuit.” ld. (alteration in original) (quoting Moog lndus., 355 U.S. at
413). Accordingly, the Court held that “the information that Chemence seeks is not relevant
to this dispute and Chemence has no need for it. As a result, it is not discoverable.” ld. at
987.

Defendants respond that they are not pursuing a “seiective enforcement” defense,
but require information about third party servicers “because it goes to the reasonableness of
Defendant[s’] conduct and industry practice.” (Doc. 76 at 27). According to Defendants, the
information they seek regards other loan servicers who are “under daily oversight by the
Department of Education, and what those other industry players understood the rules to be
with respect to the allegations are directly relevant to this case.” (ld.).

While phrased somewhat differently from the barred “seiective enforcement”
defense, the Court sees no meaningful distinction in Defendants’ proposed defense,
Establishing industry practice and the reasonableness of Defendants’ actions in comparison
to other loan servicers is ultimately an argument that Defendants should not be held liable
for their actions-or, aiternatively, that those actions are not illegal-because others in the
industry were engaging in the same or similar behavior. Even if Defendants were able to
show that they conducted themselves in a manner consistent with every other industry
participant, it does not follow that those industry-wide actions could not be “unfair,

deceptive, or abusive act[s] or practice[s]” under the Consumer Financial Protection Act, 12

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U.S.C. § 5536(a)(1)(B). See int'l Art Co. v. FTC, 109 F.2d 393, 397 (7th Cir. 1940) (“lt is
also immaterial that competitors employ the same or similar methods if such be the case, it
would afford the basis for an argument that such competitors should be dealt with likewise,
not that petitioners should escape.”); Aloha Airiines Inc. v. Civil Aeronautics Bd., 598 F.2d
250, 258 (D.C. Cir. 1979) (“Aloha could not justify a violation of [a statute prohibiting unfair
or deceptive practices in air transportation] by proof that its competitor also violated that
[statute].”). Thus, the actions inactions or understandings of other industry participants are
not relevant to the present lawsuit. Just as in Chemence, this suit is against specihc
defendants and, consequently, those defendants are the only loan servicers whose actions
are relevant.6

Accordingly, the Court will sustain Plaintiff’s objection to Defendants’ proposed
discovery. Plaintiff need not produce any documents related to the policies and practices of
other entities that service federal student loans

C. internal and Externai Emaiis

Turning now to disputes that Plaintiff has raised, Plaintiff first argues that Defendants

have improperly refused to search for and produce emails relating to fifteen requests for

documents (Doc. 74 at 3-5). Defendants contend that when they applied search terms to

 

6 Defendants cite to FTC v. Amazon.com, inc., 2016 WL 1221654, at *5 (W.D. Wash. 2016), in
support of their position. (Doc. 68 at 2). That case concerned an FTC motion in limine which sought to bar
a rebuttal expert witness who would testify that Amazon’s alleged unlawful practices were consistent with
industry practice. Amazon.com, inc., 2016 WL 1221654, at *1, *5. While the Court refused to bar the
expert from testifying at triai, the Court did not ultimately resolve the relevancy of the proposed testimony,
stating that “the Court may sustain any well-placed relevance objections at trial.” ld. at *5. Accordingly, the
Court does not nnd this case to be of use in resolving the present issue.

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the universe of emails there were over one million responsive documents which would have
to be hand reviewed before being turned over. (Doc. 83 at 3). Defendants then crafted
narrower search terms “tailored to the policies and procedures identified as being at issue,”
which resulted in approximately 100,000 responsive documents (ld.). Defendants state
that they are in the process of reviewing and handing over these emailsl Defendants argue
that reviewing the additional emails would not be proportional to the needs of this case
given their limited relevance. (April 17, 2018, Hr’g Tr. at 22, 32).

The parties seem to be in agreement that the fifteen requests can be organized into
seven subject areas At the conference, Plaintiff identified that there is no longer any
dispute as to two of these seven subject areas (April 17, 2018, Hr’g Tr. at 138-139). The
remaining five subject areas involve emails relating to (1) policies procedures and
guidance to Defendants’ employees relating to communications with borrowers about
repayment options7 (2) auditing, monitoring, and quality assurance relating to

communications with borrowers about repayment options8 (3) the suitability unsuitability,

 

7 With respect to this request, Defendants’ initial search identined approximately 480,000
potentially responsive emails. (April 17, 2018, Hr’g Tr. at 126). When Defendants’ narrowed their search
terms by only searching for documents related to the two flow charts that Plaintiff previously identified,
Defendants’ search resulted in 61 ,048 potentially responsive emails (/d.). Defendants have agreed to
search and produce any responsive document contained in these 61 ,048 emails and Plaintiff has requested
that Defendants produce ali responsive documents out of the original 480,000 potentially responsive
emails (ld. at 126-128). Plaintiff argues that the narrowed search is incomplete because emails related to
other flow charts decision trees and training materials that Plaintiff has not yet specifically identified are
relevant to this matter. (ld. at 128-129).

8 With respect to this request, Defendants’ narrowed search eliminated 95,000 potentially
responsive documents (April 17, 2018, Hr’g Tr. at 129-131). Plaintiff argues that the eliminated
documents are relevant to this action because they might contain statements or instructions to employees

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appropriateness inappropriateness advantages disadvantages benefits or costs of
forbearance or any type of lDR plan for particular groups of borrowers,9 (4) communications
with borrowers about renewal of lDR plans including emails discussing any deficiencies or
problems with those policies procedures or guidance10 and (5) the terms of Navient
Corporation’s contract with the Department of Education and Defendants’ performance
under that contract with respect to the issues relevant to Piaintiffs claims or Defendants’
defenses.11 (Doc. 83 at 4-6; April 17, 2018, Hr’g Tr. at 126-138). Upon review of the
record, the Court concludes that ali these categories of documents are potentially relevant
and therefore discoverable Accordingly, it was improper for Defendants to unilaterally
narrow the search terms with respect to these requests and only turn over documents from

the narrowed universe of potentially responsive documents

 

that caused them to provide incomplete information to borrowers about income base repayment plans
(ld.).

9 With respect to this request, Defendants argue that they have produced all responsive
documents but that there were few identified (April 17, 2018, Hr’g Tr. at 131-132). Plaintiff argues that
such an assertion is not credible (ld. at 132-133).

1° With respect to this request, Defendants’ initial search identihed approximately 275,000
potentially responsive emails (April 17, 2018, Hr’g Tr. at 133). When Defendants’ narrowed their search
terms by only searching for documents related to the one emaii notice and the one letter that Plaintiff
previously identified as being deceptive, Defendants’ search resulted in 27,265 potentially responsive
emails (ld.). Defendants have agreed to search and produce any responsive document contained in
these 27,265 emails and Plaintiff has requested that Defendants produce all responsive documents out of
the original 275,000 potentially responsive emails. (Id. at 133-134). Plaintiff argues that the narrowed
search is incomplete because other recertification notices that Plaintiff has yet to identify may have been
deceptive (ld. at 134-136).

11 With respect to this request, Defendants argue that they have reviewed approximately 100,000
potentially responsive emails and turned over those that were actually responsive to Plaintiffs request.
(April 17, 2018, Hr’g Tr. at 136). Plaintiff argues that Defendants have only searched external emails
connected with this request. Plaintiff contends that Defendant should review the additional 90,000
potentially responsive internal emails that they have identined. (id. at 136-137).

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Nevertheless, in order to address Defendants’ concerns about proportionality the
Court will order the parties to meet and decide on mutually agreeable search terms that
eliminate from the universe of potentially responsive documents that must be hand reviewed
those emails and attachments that are unlikely to contain relevant information. if the parties
are unable to reach an agreement on the search terms they shall promptly notify the Court.

D. Draft Notices and Disciosures

Next, Plaintiff argues that Defendants are refusing to produce drafts of notices and
other communications that they sent to borrowers regarding enrollment recertification for
income-driven repayment pians. (Doc. 74 at 5). Plaintiff argues that this information is
relevant to determining whether the final draft of the documents were deceptive (ld.).
Defendants respond that this request is encompassed within the email request because
draft notices would only be maintained as attachments to emails (Doc. 83 at 6).

To the extent that this issue is not resolved by the Court’s ruling on Defendants’
objections to the requests for emails the Court will order drafts of notices and other
communications that Defendants sent to borrowers regarding enrollment recertification for
income-driven repayment plans to be produced subject to any assertion of privilege This
information may be relevant to Plaintiffs deception claim. See Kraft, Inc. v. FTC, 970 F.2d
311, 323 (7th Cir. 1992) (considering the fact that Defendant rejected proposed alternative
advertisements in connection with a claim that Defendant’s final advertisement was

deceptive); FTC v. Directv, inc., 2015 WL 7775274, *6-*7 (N.D. Cal. 2015) (“[T]he Court

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finds that if Defendants rejected draft ads with clearer disclosures out of concern that such
ads would attract fewer customers this would tend to show they acted consistently with an
incentive to mislead the public.").
E. Re/evant Time Period for Discovery

Finally, Plaintiff argues that for certain requests that it made, Defendants have
refused to produce documents for relevant time periods (Doc. 74 at 5-6). According to
Plaintiff, in some cases Defendants have limited their document production to those
documents created after January 1, 2010, but then sent subpoenas to the Department of
Education that sought documents created as early as January 1, 2009. Plaintiff argues that
documents created earlier to that time are relevant to this action because some of the
documents key to this lawsuit would have been developed during that time. Further,
Plaintiff argues that in other cases Defendants have refused to produce documents created
after a certain date

Defendants respond that Plaintiff’s pre-lawsuit investigation focused on time periods
beginning on January 1, 2010, or later and argue that if Plaintiff believed earlier time periods
were relevant, it should have indicated as much during the investigation. (Doc. 83 at 7).
Further, Defendants contend that Plaintiff is factually incorrect as to some of the specific
date ranges that Defendants have searched Finally, Defendants assert that when they

have limited the range, it is because the allegations of the Complaint are time specific and,

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for certain claims searching through time periods far outside the allegations serves no
purpose

The Court is troubled that the parties were unable to reach a reasonable agreement
on an issue as fundamental to the parties’ claims and defenses as the relevant time period
for discovery. This dispute, more so than any other addressed thus far, highlights the lack
of cooperation between professionals Moving fonii/ard, the Court expects counsel to put
more effort into resolving disputes of this nature without intervention from the Court.

The Court will not micromanage discovery by determining the relevant time period
for every document request made Upon review of the Complaint, the materials submitted,
and the parties’ arguments the Court has determined that the relevant time period for this
litigation is the effective date of Defendants’ contracts with the Department of Education,
June 17, 2009, through the date that this lawsuit was filed, January 18, 2017. Absent an
agreement between the parties to the contrary, either side may request documents from the
other within this time frame

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For the reasons outlined above, the Court will sustain in part and overrule in part
Plaintiffs objections to Defendants’ requests for production of documents sustain in part
and overrule in part Defendants’ objection to Plaintiffs requests for production of

documents and order that the parties serve no additional interrogatories or requests for

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production of documents beyond those which have already been served. A separate Order

follows

 

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United States District Judge

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